 8:18-cr-00750-DCC                Date Filed 07/19/19               Entry Number 45-1             Page 1 of 2




                                                        d?
M. Clalre Hall
                                                 Parker Poe                                       Atlanta, GA
Special Couns•I                                                                                   Charleston, SC
Telephone: 803.253.8914                                                                           Charlott9, NC
Direct Fax: 803.255.8017                                                                          Columbia, SC
dalrehall@parkarpoe.com                                                                           Gl'NIWllle, SC
                                                                                                  Raleigh, NC
                                                                                                  Spartanburv, SC


                                                 February 7, 2019



Via FedEx

Federal Bureau of Prisons
320 First Street NW
Attn: Accounting Operations Section,
Room 5009
Washington, DC 20534

         Re:    US v. Charlene Brach, Case 8:18cr750

Dear Sir/Madam:

        Enclosed please our firm's Trust Account check, no. 69307, payable to the Federal
Bureau of Prisons, in the amount of $13,008.50 as payment for restitution required pursuant to a
Pre-Trial Diversion Agreement in the above-referenced case.

         Please let me know if you have any questions.

         With kindest regards,

                                                            Very truly yours,

                                                        ~q(.IILl(
                                                            M. Claire Hall

MCH:bg
Enclosure

cc:     T. Dewayne Pearson (w/o encl., via U.S. Mail)




                                                                                                     PPAB 4704193v1

  Parker Poe Adams & Bernstein LLP Attorneys and Counselors at Law 1221 Main Street Suite 1100 Columbia, SC 29201
                                I 803.255.8000   f 803.255.8017   www.parkerpoe.com
                               8:18-cr-00750-DCC                    Date Filed 07/19/19            Entry Number 45-1                    Page 2 of 2

._

     PARKER POE ADAMS & BERNSTEIN LLP                                                                      WEU.S FARGO BANK, N.A. · 2070486071416

     [)ATE:        02-o&-19       PAYEE: FEDERAL BUflEAU OF PRISONS                                                                   CHECK#:69307
               CLIENT:
                                       CHARLENE BRAQI
              MATTER:
                                       161756
                                       FALSE Cl.AIMS ACf DEFENSE


               PAYEE:                  FEDERAL BUREAU OF PRISONS


              CHECK AMT:
                                           $13,008.50




                                   HIE FACE OF lHIS CHEl.K IS PRlllH O GREHI          fHE BACK COIHAiNS A SIMLlLATED \'/ATERW\l'IK


                                       ...d?                                         WELLS FARGO e,ANK, N.A.               "    CHECK N(?i: ...69307-
                                  :Parker Poe
                                ·ATTORNEYS                                            ·· OiARLOTTE. NC HaJ1

                                           AT LAW
                                  TROSl"ACCOUNT
                                                                                            1111-2.1Ul ·
                                                                                                                       I   _;;;;;e
                                                                                                                           ~DATE
                                                                                                                               02/(                        L: ..
                          It'tR~f&~ER
                             '  STE. • !000 ~
                          CHARLOTTE. N(" 28202·1 IK2 ·
                                   004) 3721'SIOl)O     .. ·
     P>.Y Thirteen    Thoup .ElQht DOLLARS~ fHtY centa                                                                                     lusos..•••13,ooe,so I
                                                                                                                                              CHECK AMOUNT

     ro ~                     FEDERAL BUREAU OF PRISONS
     OllqEa Of''              320 FIRST ST. NW
                              ATTN: ACCOUNTING OPERATIONS SECTION, ROOM 6009
                              WASHINGTON, DC 20634                                                               , ' ' - / f l ~ ..ICZ~.-G)
     CLIENT ID:               161756
        '
     CLIENT N~                CHARLENE BRACH                                                                                                         ---   ---- _...,_~ _-

                                       _. Ei q 30 ?n•          1:0 5 3000 2 Ii q,: 20 ?O L.8 E,O 'i' Ii La Ii Ea..■
